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                                                                                                   Form 1-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                            FORM 1


  ALPI INTERNATIONAL LTD.

                                     Plaintiff,                          SUMMONS

           v.                                                            Court No. 21-00064_____

 UNITED STATES,
                                     Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 158I(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        Isl Mario Toscano
                                                        Clerk of the Court


                                                      PROTEST
 Port of   San Francisco                                  Date Protest   12/23/19
 Entry:                                                   Filed:
 Protest        2809-19-102024                            Date Protest    10/13/20
 Number:                                                  Denied:
 Importer:      Alpi International Ltd.

 Category of        Toys
 Merchandise:


                              ENTRIES INVOLVED IN ABOVE PROTEST
      Entry                Date of            Date of         Entry              Date of          Date of
     Number                 Entry           Liquidation      Number               Entry         Liquidation
 BUU-1284440-9             4/21/19          11/1/19




                                                            Stein Shostak Shostak Pollack & O'Hara, LLP
Port Director,
                                                            865 S. Figueroa St., Ste. 1388
U.S. Customs and Border Protection
                                                            Los Angeles, CA 900174
555 Battery Street, Room 319
                                                            Tel: (213) 630-8888
San Francisco, CA 94111
                                                            elon@steinshostak.com
Address of Customs Port in                                   Name, Address, Telephone Number
Which Protest was Denied                                     and E-mail Address of Plaintiffs Attorney
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                                                                                                            Form 1-2




                            CONTESTED ADMINISTRATIVE DECISION

                                      Appraised Value of Merchandise
                                            Statutory Basis                             Statement of Value


 Appraised:




 Protest Claim:



                                        Classification, Rate or Amount
                                            Assessed                                       Protest Claim
                         Paragraph or                                         Paragraph or
    Merchandise          Item Number                          Rate            Item Number                    Rate
      Toys                    3926.40.0090                    5.3%                9503.00.0090              Free




                                              Other
 State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:
 Alpi International, Ltd. challenges CBP’s classification and assessment of duties on certain Squeezies® stress
 relievers not shaped like balls under HTSUS 3926.40.0090 (5.3%) as decorative plastic articles. All
 Squeezies® regardless of shape are properly classified under HTSUS 9503.00.0090 as toys.

 The issue which was common to all such denied protests:
   Whether Squeezies® are toys.


Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                                                 /s/Christopher J. Duncan
                                                                 Signature of Plaintiff's Attorney
                                                                February 22, 2021
                                                                   Date
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                                                                                                                                           FORMS
                                    UNITED STATES COURT OF INTERNATIONAL TRADE
                                                        INFORMATION STATEMENT

                                                        (Place an ''X" in applicable [])

    PLAINTIFF:
    Alpi International, Ltd.,
    Court No. 21-00064_____
    ATTORNEY (Name, Address, Telephone No.):
    Stein Shostak Shostak Pollack & O'Hara, LLP
    865 S. Figueroa St., Ste. 1388
    Los Angeles, CA 90017
    (213) 630-8888
                                                       CONSTITUTIONAL ISSUE • 28 U.S.C. § 255

If this action raises an issue of the constitutionality of an Act of Congress, a proclamation of the President or an Executive order,
check this box:     D
I                                                                JURISDICTION                                                                            I
    28 U.S.C. § 1581(a) - Tariff Act of 1930, Section 515 -19 U.S.C. § 1515
0Appraisal                        X
                                  Oc1assification      D    Charges or Exactions        ovessel Repairs
0Exclusion                        D Liquidation        0Drawback
0Refusal to Reliquidate         nRate of Duty           n   Redelivery

    28 U.S.C. § 1581(b) - Tariff Act of 1930, Section 516 - 19 U.S.C. § 1516
       0Appraisal             D    Classification       ORate of Duty

    28 U.S.C. § 1581 (c) - Tariff Act of 1930, Section 516A(a)(1 ), (a)(2) or (a)(3) - 19 U.S.C. §1516a or Section 517(g) - 19 U.S.C. §1517
    (Provide a brief description of the administrative determination you are contesting, including any relevant Federal Register or
    Administrative Determination citation(s) and the product(s) involved in the determination.     For Section 516A(a)(1) or (a)(2), cite the specific
    subparagraph and clause of the section.)
    Subparagraph and Clause                                              Agency
    Federal Register or Administrative Determination Cite( s)
    Product(s)

    28 U.S.C. § 1581(d) - Trade Act of 1974 -19 U.S.C. §§ 2273, 2341, 2401b
Ou.s. Secretary of Labor           D    U.S. Secretary of Commerce        Ou.s. Secretary of Agriculture

    28 U.S.C. § 1581(e) - Trade Agreements Act of 1979, Section 305(b)(1) -19 U.S.C. § 2515 (Provide a brief statement of the final
    determination to be reviewed.)


    28 U.S.C. § 1581(f) - Tariff Act of 1930, Section 777(c)(2) -19 U.S.C. § 1677f(c)(2)
    Agency:   D    U.S. International Trade Commission       0Administering Authority

    28 U.S.C. § 1581(g) - Tariff Act of 1930, Section 641 -19 U.S.C. § 1641 - or Section 499 -19 U.S.C. § 1499
D      Sec. 641 (b )(2)   D   Sec. 641(b)(3)        0sec. 641(c)(1)       D       Sec. 641(b)(5)
osec. 641(c)(2)           D   Sec. 641(d)(2)(B) osec. 499(b)
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                                                              JURISDICTION
                                                                 (Continued)

  28 U.S.C. § 1581(h) - Ruling relating to:
      D Classification         Ovaluation                 0Restricted Merchandise
      0Rate of Duty            0Marking                   D    Entry Requirements
      0Drawbacks               Ovessel Repairs            Dother:



  28 U.S.C. § 1581 (i) - (Cite any applicable statute and provide a brief statement describing jurisdictional basis.)




  28 U.S.C. § 1582 - Actions Commenced by the United States
      0(1) Recover civil penalty under Tariff Act of 1930:
               0sec. 592                  0sec. 593A               Osec. 641(b)(6)


      El       osec. 641(d)(2)(A)
           (2) Recover upon a bond
           (3) Recover customs duties
                                          osec. 704(i)(2)          osec. 734(i)(2)




                                                           RELATED            C AS E (S)


  To your knowledge, does this action involve a common question of law or fact with any other action(s) previously decided or now pending?


                                           PLAINTIFF                             COURT NUMBER                             JUDGE


   [ J Decided:




   [ ] Pending:




                                                                  ..
                                                     (Attach add1t1onal sheets, 1f necessary.)

(As amended, eff. Jan. 1, 1985; Jan. 25, 2000, eff. May 1, 2000; May 25, 2004, eff. Sept. 1, 2004; Nov. 29, 2005, eff. Jan. 1, 2006;
Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 4, 2012, eff. Jan. 1, 2013; Sept. 18, 2018, eff. Oct. 15, 2018.)
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                                                                                 FORM 13

                 UNITED STATES COURT OF INTERNATIONAL TRADE
                                One Federal Plaza
                            New York, New York 10278

    DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

This notification is submitted by_Stein
                                   _ _Shostak
                                        _ _ _Shostak
                                              _ _ _Pollack
                                                     _ _ _&_O'Hara,
                                                             _ _ _LLP
                                                                    _ _ _ _ __
                                                                (Name of attorney ofrecord)
on behalf of -Alpi  International, Ltd.
               - - - - - - - - - - - - - - - - - - - - - - - - - - -in the
matter of - Alpi International, Ltd.
            - - - - - - - - - - - - - - - - - v.- -United
                                                    ---   States
                                                            -------
Court No. -21-00________
             ---  064- - - - -

1. If this statement is submitted on behalf of a corporate party, that entity shall identify below all of
its publicly-owned companies, any publicly-held company that has a 10% or greater ownership
interest in the entity, and any publicly-owned affiliate of the entity, and describe the relationship
between the party and each identified company.
N/A




                                                                         X or is not D the real party
2. Indicate whether the party on whose behalf this Form is being filed isD
in interest. If not, identify below the real party in interest.




3. Ifthis statement is submitted on behalf of a trade association, identify below each publicly-owned
member of the trade association. (Attach additional pages if necessary.)
N/A




/s/Christopher J. Duncan                                     February 22, 2021
   (Signature of Attorney)                                        (Date)

                                        SEE REVERSE SIDE

(Added Nov. 4, 1981, eff. Jan. 1, 1982; as amended Dec. 18, 2001, eff. Apr.I, 2002; Sept. 28, 2004, eff.
January 1, 2005.)
